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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “MOTION OF
          Plaintiff,                   ANTHONY WILLIAMS TO
                                       PLEAD GUILTY IF THE
         v.                            SATANTIC PROSECUTORS
                                       KENNETH SORENSON AND
                                       GREGG PARIS YATES CAN
   ANTHONY T. WILLIAMS,                PROVIDE ALL PROOF OF
                                       CLAIMS SUBMITTED IN
          Defendant.                   MOTION, OTHERWISE THE
                                       GOVERNMENT AGREES TO
                                       DISMISS THIS CASE ON ITS
                                       OWN MOTION;”
                                       DECLARATION OF COUNSEL;
                                       EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE


      DEFENDANT’S “MOTION OF ANTHONY WILLIAMS TO
        PLEAD GUILTY IF THE SATANTIC PROSECUTORS
      KENNETH SORENSON AND GREGG PARIS YATES CAN
    PROVIDE ALL PROOF OF CLAIMS SUBMITTED IN MOTION,
    OTHERWISE THE GOVERNMENT AGREES TO DISMISS THIS
                 CASE ON ITS OWN MOTION”
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   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “MOTION OF ANTHONY WILLIAMS

   TO PLEAD GUILTY IF THE SATANTIC PROSECUTORS

   KENNETH SORENSON AND GREGG PARIS YATES CAN

   PROVIDE ALL PROOF OF CLAIMS SUBMITTED IN MOTION,

   OTHERWISE THE GOVERNMENT AGREES TO DISMISS THIS

   CASE ON ITS OWN MOTION;” Declaration of Counsel and

   Exhibit “A.”


      Dated: December 2, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
